             IN THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      ASHEVILLE DIVISION
                           1:18 CR 88

UNITED STATES OF AMERICA                  )
                                          )
v.                                        )
                                          )           ORDER
WANDA SKILLINGTON GREENE                  )
                                          )
                 Defendant.               )
_________________________________         )

      This matter is before the Court on Defendant’s Motion to Seal (Doc. 62),

which requests that the Court seal Defendant’s Motion for Reconsideration of

Order Denying Motion to Continue Sentencing (Doc. 64).

      The Court has considered the Motion to Seal, the public’s interest in

access to the Motion for Reconsideration of Order Denying Motion to Continue

Sentencing, and alternatives to sealing. The Court determines that sealing is

necessary in this case, and that less restrictive means of handling the

information are not sufficient. The sealing ordered herein shall be permanent,

subject to further Order of the Court.

      Accordingly, Defendant’s Motion to Seal (Doc. 62) is GRANTED, and

Defendant’s Motion for Reconsideration of Order Denying Motion to Continue




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Sentencing (Doc. 64) shall be SEALED and remain sealed until further Order

of the Court.1

                                       Signed: August 8, 2019




1  The Motion for Reconsideration of Order Denying Motion to Continue Sentencing
itself has been denied by the presiding District Judge. This Order pertains only to the
accessibility of that document on the docket.



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